Case 2:22-cv-00679-JMY Document 17 Filed 07/20/22 Page 1 of 40
Case 2:22-cv-00679-JMY Document 17 Filed 07/20/22 Page 2 of 40
Case 2:22-cv-00679-JMY Document 17 Filed 07/20/22 Page 3 of 40
Case 2:22-cv-00679-JMY Document 17 Filed 07/20/22 Page 4 of 40
Case 2:22-cv-00679-JMY Document 17 Filed 07/20/22 Page 5 of 40
Case 2:22-cv-00679-JMY Document 17 Filed 07/20/22 Page 6 of 40
Case 2:22-cv-00679-JMY Document 17 Filed 07/20/22 Page 7 of 40
Case 2:22-cv-00679-JMY Document 17 Filed 07/20/22 Page 8 of 40
Case 2:22-cv-00679-JMY Document 17 Filed 07/20/22 Page 9 of 40
Case 2:22-cv-00679-JMY Document 17 Filed 07/20/22 Page 10 of 40
Case 2:22-cv-00679-JMY Document 17 Filed 07/20/22 Page 11 of 40
Case 2:22-cv-00679-JMY Document 17 Filed 07/20/22 Page 12 of 40
Case 2:22-cv-00679-JMY Document 17 Filed 07/20/22 Page 13 of 40
Case 2:22-cv-00679-JMY Document 17 Filed 07/20/22 Page 14 of 40
Case 2:22-cv-00679-JMY Document 17 Filed 07/20/22 Page 15 of 40
Case 2:22-cv-00679-JMY Document 17 Filed 07/20/22 Page 16 of 40
Case 2:22-cv-00679-JMY Document 17 Filed 07/20/22 Page 17 of 40
Case 2:22-cv-00679-JMY Document 17 Filed 07/20/22 Page 18 of 40
Case 2:22-cv-00679-JMY Document 17 Filed 07/20/22 Page 19 of 40
Case 2:22-cv-00679-JMY Document 17 Filed 07/20/22 Page 20 of 40
Case 2:22-cv-00679-JMY Document 17 Filed 07/20/22 Page 21 of 40
Case 2:22-cv-00679-JMY Document 17 Filed 07/20/22 Page 22 of 40
Case 2:22-cv-00679-JMY Document 17 Filed 07/20/22 Page 23 of 40
Case 2:22-cv-00679-JMY Document 17 Filed 07/20/22 Page 24 of 40
Case 2:22-cv-00679-JMY Document 17 Filed 07/20/22 Page 25 of 40
Case 2:22-cv-00679-JMY Document 17 Filed 07/20/22 Page 26 of 40
Case 2:22-cv-00679-JMY Document 17 Filed 07/20/22 Page 27 of 40
Case 2:22-cv-00679-JMY Document 17 Filed 07/20/22 Page 28 of 40
Case 2:22-cv-00679-JMY Document 17 Filed 07/20/22 Page 29 of 40
Case 2:22-cv-00679-JMY Document 17 Filed 07/20/22 Page 30 of 40
Case 2:22-cv-00679-JMY Document 17 Filed 07/20/22 Page 31 of 40
Case 2:22-cv-00679-JMY Document 17 Filed 07/20/22 Page 32 of 40
Case 2:22-cv-00679-JMY Document 17 Filed 07/20/22 Page 33 of 40
Case 2:22-cv-00679-JMY Document 17 Filed 07/20/22 Page 34 of 40
Case 2:22-cv-00679-JMY Document 17 Filed 07/20/22 Page 35 of 40
Case 2:22-cv-00679-JMY Document 17 Filed 07/20/22 Page 36 of 40
Case 2:22-cv-00679-JMY Document 17 Filed 07/20/22 Page 37 of 40
Case 2:22-cv-00679-JMY Document 17 Filed 07/20/22 Page 38 of 40
Case 2:22-cv-00679-JMY Document 17 Filed 07/20/22 Page 39 of 40
Case 2:22-cv-00679-JMY Document 17 Filed 07/20/22 Page 40 of 40
